                              NO. 07-10-0030-CR

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL D

                               AUGUST 18, 2010




                           MICHAEL ANTHONY FOSTER,


                                   Appellant
                                     v.


                             THE STATE OF TEXAS,


                                    Appellee
                         ___________________________

              FROM THE 396TH DISTRICT COURT OF TARRANT COUNTY;

         NO. 1172868R; HONORABLE GEORGE WILLIAM GALLAGHER, PRESIDING



                             Memorandum Opinion



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
      After a jury trial, Michael Anthony Foster was  convicted  of  serious
bodily injury to a child.  He seeks reversal of that conviction because  the
trial court denied him the right of  self-representation.   We  reverse  the
judgment.
      Via letter dated July 14, 2010, the  State  conceded  that  the  trial
court erred by denying appellant his right to self-representation  and  that
the error was not subject to a harm analysis.   Given  this  concession,  we
reverse the judgment of the trial court and remand  the  cause  for  further
proceedings.

                                        Per Curiam

Do not publish.
